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                            EXHIBIT 1
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        FORM 1.997.        CIVIL COVER SHEET

        The civil cover sheet and the information contained in it neither replace nor supplement the filing
        and service of pleadings or other documents as required by law. This form must be filed by the
        plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
        to section 25.075, Florida Statutes. (See instructions for completion.)


                I.       CASE STYLE

                      IN THE CIRCUIT/COUNTY COURT OF THE NINTH JUDICIAL CIRCUIT,
                               IN AND FOR ORANGE COUNTY, FLORIDA

        Jennifer Smith
        Plaintiff                                                                Case #
                                                                                 Judge
        vs.
       FLORIDA AGRICULTURAL and MECHANICAL UNIVERSITY BOT
        Defendant



                II.      AMOUNT OF CLAIM
       Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.

        ☐ $8,000 or less
        ☐ $8,001 - $30,000
        ☐ $30,001- $50,000
        ☐ $50,001- $75,000
        ☐ $75,001 - $100,000
        ☒ over $100,000.00

                III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
        definitive category.) If the most descriptive label is a subcategory (is indented under a broader
        category), place an x on both the main category and subcategory lines.




                                                          -1-
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 CIRCUIT CIVIL

 ☐ Condominium
 ☐ Contracts and indebtedness
 ☐ Eminent domain
 ☐ Auto negligence
 ☐ Negligence—other
        ☐ Business governance
        ☐ Business torts
        ☐ Environmental/Toxic tort
        ☐ Third party indemnification
        ☐ Construction defect
        ☐ Mass tort
        ☐ Negligent security
        ☐ Nursing home negligence
        ☐ Premises liability—commercial
        ☐ Premises liability—residential
 ☐ Products liability
 ☐ Real Property/Mortgage foreclosure
       ☐ Commercial foreclosure
       ☐ Homestead residential foreclosure
       ☐ Non-homestead residential foreclosure
       ☐ Other real property actions

 ☐Professional malpractice
       ☐ Malpractice—business
       ☐ Malpractice—medical
       ☐ Malpractice—other professional
 ☒ Other
       ☐ Antitrust/Trade regulation
       ☐ Business transactions
       ☐ Constitutional challenge—statute or ordinance
       ☐ Constitutional challenge—proposed amendment
       ☐ Corporate trusts
       ☒ Discrimination—employment or other
       ☐ Insurance claims
       ☐ Intellectual property
       ☐ Libel/Slander
       ☐ Shareholder derivative action
       ☐ Securities litigation
       ☐ Trade secrets
       ☐ Trust litigation


  COUNTY CIVIL

  ☐ Small Claims up to $8,000
  ☐ Civil
  ☐ Real property/Mortgage foreclosure
                                                 -2-
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  ☐ Replevins
  ☐ Evictions
        ☐ Residential Evictions
        ☐ Non-residential Evictions
  ☐ Other civil (non-monetary)

                                       COMPLEX BUSINESS COURT

 This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
 Administrative Order. Yes ☐ No ☒

          IV.   REMEDIES SOUGHT (check all that apply):
          ☒ Monetary;
          ☒ Nonmonetary declaratory or injunctive relief;
          ☐ Punitive

          V.     NUMBER OF CAUSES OF ACTION: [ ]
          (Specify)

            2

          VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                  ☐ yes
                  ☒ no

          VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                  ☒ no
                  ☐ yes If “yes,” list all related cases by name, case number, and court.


          VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                ☒ yes
                ☐ no


          IX.     DOES THIS CASE INVOLVE ALLEGATIONS OF SEXUAL ABUSE?
                  ☐ yes
                  ☒ no


  I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
  my knowledge and belief, and that I have read and will comply with the requirements of
  Florida Rule of Judicial Administration 2.425.

  Signature: s/ Jennifer Smith                           Fla. Bar # 964514
                  Attorney or party                                     (Bar # if attorney)

 Jennifer Smith                           10/17/2023
  (type or print name)                           Date

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                            EXHIBIT 2
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                      IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
                              IN AND FOR ORANGE COUNTY, FLORIDA
                                         CIRCUIT CIVIL




        JENNIFER SMITH,

               Plaintiff,

        v.                                                                     CASE NO.:

        FLORIDA AGRICULTURAL & MECHANICAL
        UNIVERSITY BOARD OF TRUSTEES,

               Defendant.




                                                     COMPLAINT

        Plaintiff, Professor Jennifer Smith, sues Defendant, Florida Agricultural & Mechanical University

        Board of Trustees, and states:



                                                JURISDICTION       AND VENUE

               1.   This is an action for damages in excess   of $50,000.00.

               2. Venue lies in Orange County because the cause of action accrued in Orange County, and

                     Defendant conducts business and employes individuals within Orange County.


                                          ADMINISTRATIVE           PREREQUISITES

               3. All   conditions precedent to bringing this action have occurred.

                                                               PARTIES

               4. Plaintiff, Jennifer Smith (hereinafter "Professor Smith" or "Plaintiff), is a female citizen

                     of the United States and a resident of Orange County, Florida, and has so resided at the

                     times material hereto.
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       5.   Defendant, Florida Agricultural & Mechanical University Board of Trustees. (hereinafter

             "FAMU," "FAMUBOT," or "Defendant"), is a state university in the Florida university

             system.

      6.    Defendant operates FAMU which is headquartered in Tallahassee, Florida, and the FAMU

             College of Law (where the Professor Smith works), which is located in Orlando, Florida.

                                           GENERAL ALLEGATIONS

      7. Professor Smith began working for the Defendant in May 2004, with an              official start date

             of August 8, 2004.

       8. Professor Smith performed the duties of a law professor and was            subject to the direction

             and control of Defendant.


      9.    Professor Smith is a tenured full professor and has been since 2016.

       10. On        August   16,   2013, then Dean Pernell, Professor Smith's immediate supervisor,

             evaluated her as excellent in teaching, scholarship and service for the 2012-13 academic

             year.

       11. In May 2014 for year 2013-14, then Dean Pernell evaluated Professor Smith as excellent

             in teaching, scholarship and service for the 2013-14 academic year.

       12. Law faculty were         not re-evaluated again for nearly a decade until Professor Smith reported

             that to BOT board members at a meeting with the faculty at the College of Law.


       13. In 2015 after Professor Smith sued for equal pay, Defendant recognized there was           gender

             inequity of up to $20k in its law faculty salaries in "An Analysis of Instructional Faculty

             Salary Equity in the Florida Agricultural and Mechanical University College of Law,"

             prepared by the Florida A&M University Office of Institutional Research (August 2015),

             which found that for tenured full professors:

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                     a)   Average and median salaries for instructional faculty in the college
                          were  computed by gender and rank. As Table 2 shows, for the 2014-
                          15 academic year the average and median salaries for male College
                          of Law instructional faculty exceeded those of female instructional
                          faculty at both the Professor and Associate Professor ranks. The
                          average salary for males holding the rank of Professor exceeded the
                          average for females at the same rank by $17,691. (P. 3)


                     b) The model estimated that on average, when controlling for other
                        factors male faculty in the College of Law at the rank of Professor
                        earned $20,199 more than their female colleagues. (P. 10)


                     c)   Focusing exclusively on College of Law faculty at the Professor
                          rank, the results from Model 2 suggest that in general female faculty
                          at the Professor rank in the FAMU of College earned less than their
                          male counterparts. (P. 13)


       14. Defendant employs a similar position of tenured full professor at the College of Law, held


          by Ewanrinareto "Arete Imoukhuede (Comparator), a male professor, hired on August 9,

          2021.


       15. Professor Smith and Comparator performed and perform substantially equal work in terms


          of skill, effort, and responsibility, under similar working conditions.

       16. Despite performing substantially equal work, Professor Smith is paid nearly $25k less than


          Comparator for performing the same     or   similar job duties.

       17. The Comparator's pay is also about $25k greater than the "lockstep" model that Defendant


          put in place in the 2016 salary adjustments.

       18. The increased pay that Comparator received and receives has not been based on      superior

          skill, education, or experience or any other legitimate factor.

       19. On   May 9, 2022, Professor Smith wrote the president of the University, Dr. Larry

          Robinson, about the disparity in pay between her and Comparator.

      20. On June 28, 2022, Professor Smith filed          an   informal gender equity complaint with


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         Defendant's Equal Opportunity Program ("EOP")

      21. On September 22, 2022, Defendant's EEO department sent its investigative report to

         Professor Smith, denying any pay inequities without any rationale for paying Comparator

         more     than Professor Smith.

      22. On October 18, 2022, Professor Smith filed a Charge of Discrimination with the EEOC

         under the Equal Pay Act.

       23. October 20, 2022, at precisely 10:30 am, Professor Smith reported a violation of the Code

          of Conduct to Associate Dean of Students Reginald Green via text message, pertaining to

          an     incident involving an unidentified female student, later identified as MW.

       24. Professor Smith alleged that MW displayed deliberate, aggressive, and confrontational

          behavior, specifically described as "so rude" and "aggressively rude," by barging into a

          class session in which she was not enrolled, fully aware   that the classroom was being used

          by Professor Smith, as evidenced by a crowd of over 40 students gathered in the hallway,

          respectfully awaiting the conclusion of the ongoing class.

       25. The incident unfolded when MW entered the classroom through the back door and

          declared that her professor (M. Reyes ("Reyes")) told her that she needed to sit down to

          get ready for the next class starting at 10:30am.

       26. After being instructed to leave by Professor Smith, MW, now           very irate, positioned

          herself outside the front door of the classroom, awaiting an opportunity to re-confront

          Professor Smith about Professor Smith using the classroom that Professor Smith had

          reserved a few weeks earlier for a make-up class. Professor Smith had never         encountered

          MW before this occurrence       at the law school and had no idea who this unhinged person

          was.



       27. Sometime later, Professor Smith learned from another professor, Patricia Broussard, how

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           remorseful and ashamed MW was said to be, specifically because MW was clerking for

           the firm where Professor Smith had been a partner, so on December 18, 2022, Professor

           Smith sent MW the following email to give MW peace about her employment

           opportunities:

                    Hi. I am the professor who you rnet accidentally in the hallway several
                    weeks ago (late Oct) when I was doing makeup exams in the classroorn
                    on the second floor. I was a partner with H&K where you will work this

                    summer.   I am proud of you and would not do anything to interfere with
                    a student's career. I wish you the best, and if I can ever help you in any
                    way, please reach out.

                                               Best,

                                               Prof Smith

          MW did not respond. Professor Smith believed the issue was resolved because nearly 60

          days had passed since the incident until Professor Smith received emails from Defendant's

          Compliance department on January 26, 2023.

       28. To Professor Smith's surprise, and merely 16 days after she submitted her rebuttal to the

          EEOC concerning Defendant's position statement on equal pay, Professor Smith learned

          the issue was not resolved.

       29. Nearly 100 days after Professor Smith initially reported the MW incident, on January 26,

          2023, Defendant contacted Professor Smith to begin an investigation into the MW incident.

          But even more surprising, Defendant's investigation made Professor Smith the target, even

          though Defendant had assured Professor Smith it would look into the incident based on her

          text to Associate Dean Green, and then to her further surprise, Defendant informed

          Professor Smith on January 26, 2023 that the outcome of the investigation could be her

          termination. This was the first time that Professor Smith learned that a complaint had ever

          been filed against her by MW, including the severity of MW's allegations and the blatant


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          and obvious falsities contained therein.

       30. Defendant then carried on      a clearly unwarranted investigation from January 26, 2023   until

          June 5, 2023, ultimately finding all of MW's allegations to be absolutely meritless.

       31. MW    was   the admitted instigator who, on both occasions on the day of the incident,

          purposefully confronted Professor Smith then MW falsely claimed that she was in fear of

          her safety with over      40 students in the hallway after MW's repeated voluntary and

          intentional confrontations with Professor Smith, who had no idea who this person was.

       32. On February 15, 2023, Reyes sent an email providing great insight into MW's deliberate


          disruption of Professor Smith's class on October 20, 2022. In the email, Reyes stated that

          MW entered Professor Smith's class that day to "remind [Professor Smith] that [Reyes]

          was   about to start class in the classroom where [Professor Smith was] conducting one-on-
                          -




          one   sessions with students from [her] civil procedure course.     [Professor Smith was]

          supposed to be in that classroom where [Reyes] was going to start class in a few minutes.

          [Professor Smith was] assigned to teach civil procedure in the classroom next door, yet

          [she] chose to remain in the classroom where [Reys] was due to start teaching evidence to

          disrupt [Reyes'] class, which [Professor Smith] did." Clearly, MW knew Professor Smith

          was   in the classroom; MW deliberately disrupted [Professor Smith's] class; and MW was

          the admitted instigator both times she ambushed Professor Smith on October 20, 2022.

          Professor Smith was      in her classroom next door to teach civil procedure at 10:30am, and

          thus could not have disrupted Reyesclass, which started at 10:30am. Furthermore, Reyes

          was   late to class that day.

       33. The investigation was    conducted with undue and unreasonable delay, and extended

           130 days from January 26, 2023 to June 5, 2023 to cause     needless stress to Professor Smith.

       34. Defendant failed to request        or   preserve key surveillance video evidence, delayed

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          requesting the surveillance video for 104 days (from October 20, 2022 to January 31, 2023)

          to destroy key evidence that would have immediately exonerated Professor Smith, failed

          to follow its own    Code of Conduct, failed to investigate Professor Smith's complaint


          against the student, and intentionally disregarded evidence supporting Professor Smith's

          allegations of deliberate disruptive conduct by MW.

       35. Following the investigation, Defendant then falsely accused Professor Smith of retaliation

          to discredit Professor Smith's legitimate complaints against MW and protect Defendant

          from potential liability. Then, Defendant recommended the re-imposition of an additional

          unspecified penalty in its report emailed to Professor Smith on June 5, 2023 ("Report')

          after Defendant had already instructed the deans to speak with Professor Smith about

          potential retaliation in March 2023, which had been done, thus duplicating the penalty for

          the same alleged retaliation.

       36. Defendant failed to maintain the confidentiality of the investigation, thereby exposing

          Professor Smith's protected activity or the details of her complaint to other employees,

          then falsely alleged another employee (the professor who MW said instructed her to


          interrupt the class) had filed a complaint against Professor Smith because of Defendant's

          breach of confidentiality.

       37. On June 12, 2023, Professor Smith sent           a   memorandum addressed to Rica Calhoun

          (Compliance), Denise Wallace (General Counsel) and Craig Reed (BOT) herein

          incorporated by reference about the retaliatory actions of the Defendant, and demanded: 1)

          immediate rescission of the Report, 2) removal of the Report from her file, 3) an immediate

          investigation of the Code of Conduct violations she initially reported on October 20, 2022

          (the date of the incident) against MW, and 4) an investigation into Compliance for its

          failure to follow its own   guidelines, for the reasons   herein. Professor Smith never   received
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           a response from the Defendant regarding her memorandum nor            any of her demands.

       38. On April 30, 2023 and June 13, 2023, Professor Smith supplemented her EEOC complaint

           with retaliation claims to the EEOC.

       39. Professor Smith received a notice of right to sue letter from the EEOC on      July 25, 2023.

       40. The EPA, 29 U.S.C. § 206 et seq., prohibits employers from paying employees of one          sex


           less than employees of the opposite sex for equal work on jobs requiring equal skill, effort,

           and responsibility, under similar working conditions.

       41. Defendant violated the EPA by paying Professor Smith less than Comparator for

           performing substantially equal work.

       42. After Professor Smith raised concerns    about the pay disparity and expressed her intention

           to exercise her rights under the EPA, Defendant engaged in retaliatory actions against

           Professor Smith.

       43. Defendant's retaliation against Professor Smith includes the adverse employment actions

           as   described above.

       44. Defendant's retaliatory actions against Professor Smith were           motivated by Plaintiffs

           exercise of her rights under the EPA, in violation of 29 U.S.C. § 215(a)(3).

       45. On October 12, 2023, Defendant notified Professor Smith that she received "a three (3%)

           percent performance-based increase," which was           the highest increase that any employee

           could receive.

                                       COUNT I
                         DISCRIMINATION   IN COMPENSATION
                   EQUAL PAY ACT OF 1963, AS INCORPORATED INTO
                 THE FAIR LABOR STANDARDS ACT 29 U.S.C. § 206, et m.

       46. The Plaintiff realleges paragraphs 1 through 45.

       47. Plaintiff belongs to a protected class; she is female.


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       48. Plaintiff s job functions as a tenured full professor at FAMU have been of equal skill,

             effort, and responsibility to the job functions of the Comparator and were performed under

             the same   or   similar working conditions.

       49. During all relevant periods, Plaintiff received wages lower than the Comparator while


             performing the same      or   substantially more   work than the Comparator.

       50. Plaintiff is qualified for and entitled to wages equal to or higher than her Comparator's


             wages performing the same         or   substantially more   work than the Comparator.

       51. Defendant violated the Equal Pay Act (EPA), and Plaintiff is entitled to damages and


             equitable relief, including attorney's fees and costs.


                                                COUNT II
                                              RETALIATION
                              EQUAL PAY ACT OF 1963, AS INCORPORATED INTO
                             THE FAIR LABOR STANDARDS ACT, 29 U.S.C. § 215(a)(3)

       52.    The Plaintiff realleges paragraphs 1 through 45.

       53.    Defendant's retaliatory actions against Plaintiff, as alleged herein, constitute a violation

              of the EPA, 29 U.S.C. § 215(a)(3).

       54.    The retaliation described herein was based on Plaintiff s exercise of rights protected by

              law to resist and oppose gender discrimination and harassment and to participate in

              actions calculated to redress grievances.


       55.    As a result of Defendant's retaliatory actions in violation of the EPA, Plaintiff has

              suffered and is entitled to damages and equitable relief, including attorney's fees and

              costs.




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                                            PRAYER FOR RELIEF


      WHEREFORE, Plaintiff prays for the following relief:

             a)   An order declaring that Defendant has violated the Equal Pay Act, including

                  retaliation provisions;

            b) An order removing any negative references to the October 20, 2022 incident from

                  Professor Smith's employment file;

             c)   An award of unpaid wages and other compensation due to Plaintiff as a result of

                  Defendant's violation of the EPA, including interest;

             d) Judgment against Defendant and for Plaintiff awarding compensatory damages on

                  all Counts for the Defendant's violations of law enumerated herein;

             e)   Judgment against Defendant and for Plaintiff equalizing her salary with her male

                  counterpart, permanently enjoining Defendant from future violations of law

                  enumerated herein and remedying all benefits of which Plaintiff has been unlawfully

                  deprived w enumerated herein;

             f) An award of liquidated damages in an amount equal to the unpaid wages and

                  compensation due to Plaintiff;

             g) Prejudgment interest;

             h) An award of reasonable attorneysfees and costs pursuant to 29 U.S.C. § 216(b);

                  and


             i)   Any other relief, including equitable relief, this Court deems just and proper.




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                                            Jury Demand
        Plaintiff demands trial by jury on all issues so triable.


                                                Respectfully submitted,

                                                /s/ Jennifer Smith
                                                Jennifer Smith
                                                Florida Bar No. 964514

                                                Law Office of Jennifer Smith
                                                13506 Summerport Village Pkwy.
                                                Suite 108
                                                Windermere, FL 34786
                                                407-455-0712
                                                407-442-3023 (facsimile)
                                                jensmithesq@aol.com




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                            EXHIBIT 3
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                                                         IN THE COUNTY/CIRCUIT COURT OF
                                                         THE NINTH JUDICIAL CIRCUIT, IN
                                                         AND FOR ORANGE AND OSCEOLA
                                                         COUNTY, FLORIDA




        IN RE: CIVIL CASE MANAGEMENT
               PLAN AND ORDER

                                                         /


                           STANDING CASE MANAGEMENT PLAN/ORDER
                                      (Streamlined Track)

               PURSUANT TO In re: Comprehensive COVID-19 Emergency Measures for
        Florida Trial Courts, Fla. Admin. Order No. AOSC20-23 (Amendment 12) 1 (April 13,
        2021), and Ninth Judicial Circuit Court Administrative Order No. 2021-04-01
        (collectively the “Case Management Administrative Orders”), this case is before the
        Court for case management. Based on the case type of the initial filing in this case, the
        Case Management Administrative Orders, and pursuant to Rule 2.545, Fla. R. Gen.
        Prac. & Jud. Admin., the Court hereby establishes a case management plan. It is
        hereby

               ORDERED that:

               1.      COMPLIANCE WITH THIS CASE MANAGEMENT PLAN/ORDER: The
        parties shall strictly comply with the terms of this Case Management Plan/Order, unless
        otherwise ordered by the Court. FAILURE TO COMPLY WITH ALL REQUIREMENTS
        OF THIS ORDER WILL RESULT IN THE IMPOSITION OF SANCTIONS. If the parties
        believe that an alternate plan is required or more appropriate, then the parties shall
        meet, confer and agree on a plan that complies with the time standards set forth in Rule
        2.250, Fla. R. Gen. Prac. & Jud. Admin. The parties may submit an agreed upon plan
        to the division judge for consideration, or set the matter for a case management
        conference.

               2.     ADDITIONAL NINTH CIRCUIT AND DIVISION SPECIFIC GUIDELINES:
        All counsel and unrepresented parties shall familiarize themselves and comply with the
        requirements of the following: (i) Amended Administrative Order Establishing the
        Ninth Judicial Circuit Court Circuit Civil Court Guidelines (AO 2012-03-01); (ii)
        Amended Administrative Order Establishing the Ninth Judicial Circuit Courtroom
        Decorum Policy (AO 2003-07-02); (iii) Amended Administrative Order Establishing
        the Ninth Judicial Circuit Court County Civil Court Guidelines, Orange County
        (AO 2017-04-01) and (iv) any division-specific guidelines that may be applicable.


       1 Administrative Order No. AOSC20-23 terminated at 12:01 a.m. on June 21, 2021 and was

       replaced by Administrative Order No. AOSC21-17.
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          3.     MODIFICATION OF THIS ORDER: The parties may not, individually or
  by agreement, alter or extend the deadlines in this Order, or waive any of the provisions
  of this Order. The provisions of this Order may be modified only upon motion/stipulation
  and Court order in accordance with applicable law.

         4.     SERVICE OF THIS ORDER WITH INITIAL PROCESS: Pursuant to the
  Case Management Orders, the Plaintiff shall file a copy of this Order in the case. Any
  party serving an initial pleading (complaint, third-party complaint, etc.) in this case shall
  serve a copy of this Order together with initial service of process.

                  CASE MANAGEMENT PLAN – STREAMLINED TRACK
   Note: All dates are to be calculated from the date of filing of the initial complaint unless
                                       otherwise noted.
   Deadline for Service of Process:                                    120 days
   Deadline for Service of Process extended             150 days, failing same, all unserved
   if not accomplished within 120 days:                  defendants are dismissed without
                                                                       prejudice
   Deadline for Leave to Add Parties and               Motions must be set for hearing and
   Amend Pleadings:                                heard within 60 days from service on the
                                                     last defendant, or deemed abandoned
                                                                     and denied
   Motions to Dismiss, Motions for More            Must be set for hearing and heard within
   Definite Statement, Motions to Strike and                  45 days from filing of the
   any objections to the pleadings:                motion/objection, or deemed abandoned
                                                      and denied. Non-movant shall timely
                                                   submit a proposed order in the event the
                                                    motion/objection is deemed abandoned
                                                                     and denied
   Deadline for Completion of Fact and                                 275 days
   Expert Discovery:                                    (additional disclosure and discovery
                                                        deadlines will be established by the
                                                   Uniform Order Setting Pre-Trial and Trial
                                                                     in the case)
   Pre-trial Motions, including Dispositive        Must be filed no later than 15 days after
   and Daubert Motions                                completion of discovery and heard no
                                                       later than 7 days prior to the pre-trial
                                                    conference, or deemed abandoned and
                                                                        denied
   Mediation/Alternative Dispute Resolution          Within 30 days after completion of the
                                                     depositions of all parties, counsel shall
                                                     meet and confer regarding whether an
                                                     early mediation would be productive to
                                                    resolution of certain issues or the entire
                                                      case. A final mediation shall occur no
                                                   later than 30 days after completion of all
                                                                      discovery
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   Approximate Pre-Trial Conference:                              11 months
                                                      Actual Date to be set by Trial Order
   Approximate Trial Date:                                        12 months
                                                      Actual date to be set by Trial Order

  5. NOTICES FOR TRIAL: Within ten (10) days of the case being at issue as defined
     by Rule 1.440, Fla. R. Civ. P., the Plaintiff shall confer with opposing counsel/party
     regarding the anticipated length of trial and file a Notice for Trial. The Plaintiff shall
     forward a copy of the Notice for Trial to the Judicial Assistant at the Division email
     address noted on the Ninth Circuit website.

  6. DISCOVERY: All counsel and unrepresented parties shall familiarize themselves
     with the current edition of the Florida Handbook on Civil Discovery Practice and seek
     to resolve discovery issues without court intervention whenever possible.

  7. SETTLEMENT: The case will not be removed from the docket until all documents
     necessary for closure of the case are filed with the Clerk and notification has been
     provided to the judicial assistant. A notice of settlement is not sufficient to remove
     the case from the trial docket.

      DONE AND ORDERED in Orange/Osceola County, Florida.



                                                          ___________________________
                                                          Chief Judge



  If you are a person with a disability who needs any accommodation in
  order to participate in this proceeding, you are entitled, at no cost to
  you, to the provision of certain assistance. Please contact the ADA
  Coordinator in your county at least 7 days before your scheduled court
  appearance, or immediately upon receiving this notification if the time
  before the scheduled appearance is less than 7 days. If you are hearing
  or voice impaired, call 711.

  ORANGE COUNTY: Human Resources, Orange County Courthouse,
  425 N. Orange Avenue, Suite 510, Orlando, Florida, (407) 836-2303

  OSCEOLA COUNTY: Court Administration, Osceola County
  Courthouse, 2 Courthouse Square, Suite 6300, Kissimmee, Florida,
  (407) 742-2417
  REV 04/29/2021
Case 6:24-cv-00457-PGB-RMN Document 1-6 Filed 03/04/24 Page 21 of 105 PageID 189




                            EXHIBIT 4
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                            EXHIBIT 5
Filing #Case 6:24-cv-00457-PGB-RMN Document 1-6 Filed 03/04/24 Page 26 of 105 PageID 194
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                            EXHIBIT 6
Filing #Case 6:24-cv-00457-PGB-RMN Document 1-6 Filed 03/04/24 Page 75 of 105 PageID 243
         190760916   E-Filed 01/29/2024 03:43:18 PM
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                            EXHIBIT 7
Filing #Case 6:24-cv-00457-PGB-RMN Document 1-6 Filed 03/04/24 Page 77 of 105 PageID 245
         190968739   E-Filed 01/31/2024 03:59:20 PM
Case 6:24-cv-00457-PGB-RMN Document 1-6 Filed 03/04/24 Page 78 of 105 PageID 246
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                            EXHIBIT 8
Filing #Case 6:24-cv-00457-PGB-RMN Document 1-6 Filed 03/04/24 Page 81 of 105 PageID 249
         191002564   E-Filed 02/01/2024 08:52:10 AM
Case 6:24-cv-00457-PGB-RMN Document 1-6 Filed 03/04/24 Page 82 of 105 PageID 250
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                            EXHIBIT 9
Filing #Case 6:24-cv-00457-PGB-RMN Document 1-6 Filed 03/04/24 Page 87 of 105 PageID 255
         191695572   E-Filed 02/10/2024 12:20:39 PM
                                Delivered on 02/02/2024 at 12:49 PM By James Kady Reg. # 065 Ex. 03/31/2024
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                           EXHIBIT 10
Filing #Case 6:24-cv-00457-PGB-RMN Document 1-6 Filed 03/04/24 Page 92 of 105 PageID 260
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                           EXHIBIT 11
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                                                      CLERK OF COURT



                                                        DEPUTY CLERK
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                           EXHIBIT 12
Filing #Case 6:24-cv-00457-PGB-RMN Document 1-6 Filed 03/04/24 Page 97 of 105 PageID 265
         193152475   E-Filed 03/01/2024 05:25:29 PM



                          IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
                                  IN AND FOR ORANGE COUNTY, FLORIDA

        JENNIFER SMITH,

                     Plaintiff,                               CASE NO.: 2023-CA-016035-O

        v.

        FLORIDA AGRICULTURAL & MECHANICAL
        UNIVERSITY BOARD OF TRUSTEES,

                     Defendant.
                                                        /

                            NOTICE OF APPEARANCE ON BEHALF OF DEFENDANT
                                AND DESIGNATION OF E-MAIL ADDRESSES

              The law firm of GrayRobinson, P.A., Richard E. Mitchell, Esq., and Julie M. Zolty,

        Esq., hereby file this Notice of Appearance as Counsel on behalf of Defendant, and

        pursuant to Rule 2.516, Florida Rules of Judicial Administration and Rule 3.030, Florida

        Rules of Civil Procedure, hereby designate the following e-mail addresses:

                     Primary:         rick.mitchell@gray-robinson.com
                     Secondary:       maryann.hamby@gray-robinson.com

                     Primary:         julie.zolty@gray-robinson.com
                                      chantal.mccoy@gray-robinson.com

              Respectfully submitted this 1st day of March, 2024.

                                                /s/ Richard E. Mitchell
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                                                rick.mitchell@gray-robinson.com
                                                maryann.hamby@gray-robinson.com
                                                Julie M. Zolty, Esq.
                                                Florida Bar No.: 1036454
                                                julie.zolty@gray-robinson.com
                                                chantal.mccoy@gray-robinson.com
                                                GRAYROBINSON, P.A.
                                                301 East Pine Street, Suite 1400
                                                Post Office Box 3068 (32802-3068)
Case 6:24-cv-00457-PGB-RMN Document 1-6 Filed 03/04/24 Page 98 of 105 PageID 266




                                          Orlando, Florida 32801
                                          (407) 843-8880 Telephone
                                          (407) 244-5690 Facsimile
                                          Counsel for Defendant


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 1st day of March, 2023, I electronically filed the
  foregoing with the Clerk of the Court by using the CM/ECF system, which will send a
  notice of electronic filing to all registered users.

                                          /s/ Richard E. Mitchell
                                          Richard E. Mitchell, Esq.
                                          GrayRobinson, P.A.




                                       Page 2 of 2
Case 6:24-cv-00457-PGB-RMN Document 1-6 Filed 03/04/24 Page 99 of 105 PageID 267




                           EXHIBIT 13
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                     IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
                             IN AND FOR ORANGE COUNTY, FLORIDA


        JENNIFER SMITH,                                             Case No. 2023-CA-016035-O
                                                                    Division: 34
               Plaintiff,
        v.

        FLORIDA AGRICULTURAL &
        MECHANICAL UNIVERSITY
        BOARD OF TRUSTEES,

              Defendant.
        _____________________________/

                     DEFENDANT’S MOTION TO SET ASIDE CLERK’S DEFAULT

               Defendant, FLORIDA AGRICULTURAL & MECHANICAL UNIVERSITY BOARD

        OF TRUSTEES (“FAMU”), pursuant to Rules 1.140(a)(2)(A) and 1.500(d), Florida Rules of Civil

        Procedure, respectfully requests this Honorable Court to render an Order setting aside the Clerk’s

        Default in this action, and states in support:

               1.      On October 17, 2023, Plaintiff, Jennifer Smith (“Plaintiff”) filed a Complaint for

        claims related to her employment with FAMU, under the Equal Pay Act of 1963.

               2.      On October 31, 2023, the Clerk electronically issued a summons to be served on

        FAMU.

               3.      On January 29, 2024, Plaintiff filed her Amended Complaint, adding claims for

        breach of contract, first amendment retaliation, violation of procedural due process under 42

        U.S.C. § 1983, and requesting preliminary and permanent injunctive relief. Plaintiff did not obtain

        an Alias Summons for service of her Amended Complaint.
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           4.       On February 2, 2024, a process server attempted to serve1 FAMU a copy of the

  Summons and Amended Complaint.

           5.       On February 26, 2024, Plaintiff filed a motion for default against FAMU, which

  was entered by the Clerk on the same day, based on FAMU’s failure to file a response within 20

  days.

           6.       However, FAMU is statutorily defined as a State University, which is an agency of

  the State of Florida. Fla. Stat. §§ 1000.21(8)(c), 1001.75(d).

           7.       Pursuant to Florida Rule of Civil Procedure 1.140(a)(2)(A), “. . . an agency of the

  state . . . must serve an answer to the complaint or crossclaim, or a reply to a counterclaim, within

  40 days after service”. (Emphasis added).

           8.       Accordingly, FAMU, has at least 40 days—or until March 13, 2024—to respond to

  Plaintiff’s Amended Complaint.

           9.       Further, Florida public policy strongly favors the resolution of lawsuits on the

  merits and not on procedural technicalities. North Short Hospital, Inc. v. Barber, 143 So. 2d 849

  (Fla. 1962); Dawkins, Inc. v. Huff, 836 So. 2d 1062, 1064 (Fla. 5th DCA 2003). Trial courts should

  therefore liberally exercise discretion to set aside defaults, resolving all reasonable doubts in favor

  of the defaulting party. Barber, 143 So. 2d at 852–53; Venero v. Balbuena, 652 So. 2d 1271, 1272

  (Fla. 3d DCA 1995) (“In the court’s utilization of its discretion, all reasonable doubt is to be

  resolved in favor of granting relief from default judgments so that matters may be tried on the

  merits.”).



  1
   FAMU disputes that service of process was properly effectuated. Pursuant to Section 1001.72, service on a state
  university can be made on the Chair of the Board of Trustees or in the absence of the chair, on the corporate secretary
  or designee. See Fla. Stat. § 1001.72(1). Neither the Chair or her designee were served with the Summons and
  Amended Complaint in this case. Accordingly, FAMU reserves all rights and defenses regarding insufficient service
  of process and does not concede that service was ever properly effectuated in this case.
                                                            2
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         10.     This Court may set aside defaults for mistakes, inadvertence, surprise, and

  excusable neglect, and upon a showing a meritorious defense, and acting promptly to set aside the

  clerk’s default. Fla. R. Civ. P. 1.500(d); Dorisca v. DeSantis, Case No. 2023-CA-014478-O (Fla.

  9th Cir. Ct. Sept. 21, 2023) (vacating a Clerk’s default improperly entered for failure to respond

  after 20 days where the defendant had 40 days to respond to the complaint under Rule 1.140(a)(2)).

         11.     Accordingly, the Court should set aside the Clerk’s Default pursuant to Florida Rule

  of Civil Procedure 1.140(a)(2).

         WHEREFORE, Defendant, FAMU, respectfully request the Court to render an Order

  setting aside the Clerk’s default entered against it on February 26, 2024, and granting any and all

  further relief deemed just and proper.

         Respectfully submitted on March 4, 2024.

                                               /s/ Richard E. Mitchell
                                               Richard E. Mitchell, Esq.
                                               Florida Bar No.: 0168092
                                               rick.mitchell@gray-robinson.com
                                               maryann.hamby@gray-robinson.com
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                                               Orlando, Florida 32801
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                                               Counsel for Defendant FAMU




                                                  3
Case 6:24-cv-00457-PGB-RMN Document 1-6 Filed 03/04/24 Page 103 of 105 PageID 271




                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on March 4, 2024, I electronically filed the foregoing with the
  Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing to
  all registered users.

                                             /s/Richard E. Mitchell
                                             Richard E. Mitchell, Esq.
                                             GrayRobinson, P.A.




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                            EXHIBIT 14
        Case
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                                                                                          Docket 105 of 105 PageID 273

                                       Florida Sixth District Court of Appeal Docket

                                                       Case Docket

                                                 Case Number: 6D24-233

                                     Non-Final Civil Other Notice from Orange County

       PROFESSOR JENNIFER SMITH vs. FLORIDA AGRICULTURAL & MECHANICAL UNIVERSITY
                                     BOARD OF TRUSTEES

                                       Lower Tribunal Case(s):2023-CA-016035-O

                                                                                                  3/4/2024 5:12:14 PM
       Date
                     Description               Filed By                                  Notes
     Docketed
                 Notice of Appeal        Jennifer Smith, Esq.
    02/02/2024                                                WITH ORDER
                 Filed                   964514
                                         Jennifer Smith, Esq. EMERGENCY MOTION TO EXPEDITE APPEAL
    02/26/2024 Emergency Motion
                                         964514               & ORAL ARGUMENT
                 Acknowledgment
    02/28/2024
                 Letter 1
                                                               This appeal has been filed without a filing fee
                                                               required by section 35.22(2)(a), Florida Statutes.
                                                               Appellant shall forward the required $300.00 filing
                                                               fee or, if applicable, a certificate or order from the
                                                               lower tribunal finding appellant insolvent pursuant to
    02/28/2024 fee - civil; pro se
                                                               section 57.081 or 57.085, Florida Statutes, as
                                                               applicable, within forty days from the date of this
                                                               order. If this court does not receive either of the
                                                               above within the prescribed time, this appeal may be
                                                               subject to dismissal without further notice.
                                                               This proceeding is a nonfinal appeal, or an appeal of
                                                               a specified final order, governed by Florida Rule of
                                                               Appellate Procedure 9.130. The initial brief and
                 nonfinal appeal order
    02/28/2024                                                 appendix shall be served within twenty days of the
                 for initial brief
                                                               date of this order. The appellee(s) shall serve the
                                                               answer brief(s) within thirty days of service of the
                                                               initial brief.
                                                               In light of the February 28, 2024, order to pay the
                                                               filing fees in this case, this court will not take further
                 MISCELLANEOUS
    03/04/2024                                                 review action on the pending emergency motion to
                 ORDER
                                                               expedite appeal and oral argument until such time as
                                                               the pending fees in this appeal are resolved.
                 Case Filing Fee Paid
    03/04/2024
                 through Portal




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